     Case 1:16-cv-00104-IMK Document 8 Filed 10/07/16 Page 1 of 2 PageID #: 22




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 CLARKSBURG DIVISION


CHARLES SALISBURY,                                  CIVIL ACTION NO. 1:16-CV-104
                                                    JUDGE IRENE M. KEELEY
        Plaintiff,

V.

PRIMECARE MEDICAL OF
WEST VIRGINIA, INC.,

        Defendant.


                           NOTICE OF VOLUNTARY DISMISSAL

        Comes now Plaintiff, Charles Salisbury, by his counsel, Hoyt Glazer and the Law Office

of Hoyt Glazer, PLLC, and provides notice of the voluntary dismissal of his Complaint as styled

above, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.

                                                    PLAINTIFF, CHARLES SALISBURY,
                                                    By His Counsel,

s/ Hoyt Glazer_____
Hoyt Glazer, Esq. (WV Bar #6479)
Law Office of Hoyt Glazer, PLLC
618 Tenth Street, Suite 105
Huntington, WV 25701
T. 681-204-3914
F. 681-245-6283
     Case 1:16-cv-00104-IMK Document 8 Filed 10/07/16 Page 2 of 2 PageID #: 23




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 CLARKSBURG DIVISION


CHARLES SALISBURY,                                  CIVIL ACTION NO. 1:16-CV-104
                                                    JUDGE IRENE M. KEELEY
        Plaintiff,

V.

PRIMECARE MEDICAL OF
WEST VIRGINIA, INC.,

        Defendant.

                                CERTIFICATE OF SERVICE

        I, Hoyt Glazer, counsel for the Plaintiff, hereby certify that on October 7, 2016, I have
served a copy of the Plaintiff’s Notice of Voluntary Dismissal to the Defendant’s counsel named
below:

                                     Thomas Weber, Esq.
                                      PrimeCare Medical
                                       3940 Locust Lane
                                     Harrisburg, PA 17109




    /s/Hoyt Glazer      _
Hoyt Glazer (WV #6479)
Law Office of Hoyt Glazer, PLLC
618 10th Street, Suite 105
Huntington, WV 25701
681-204-3914
